        Case 1:21-cr-00091-RCL Document 159 Filed 05/11/23 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA


               v.                                    Case No. 21-cr-91 (RCL)


ISAAC STURGEON


                      ORDER WITH RESPECT TO EDWARD JONES

        Upon consideration of the Defendant, Mr. Sturgeon's Motion for Order Directing the

USMS to Arrange and Incur Costs for Witness's Travel,

       It is ORDERED that Mr. Sturgeon's motion is GRANTED.

       It is further ORDERED that pursuant to 28 U.S.C. § 1821, the United States Marshal

Service is directed to make the necessary travel and lodging arrangements, and reimburse other

travel expenses and fees for defense witness Edward Jones to attend Mr. Sturgeon's trial, set to

begin on May 15, 2023.

       It is further ORDERED that all costs and witness fees shall be paid to Edward Jones in the

same manner as those paid to witnesses called to appear on behalf of the United States government.




Date                                                The Honorable Royce C. Lamberth
                                                    Senior United States District Judge
